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 6   REGINALD BELL

 7                               IN THE UNITED STATES DISTRICT COURT
 8                                 EASTERN DISTRICT OF CALIFORNIA
 9
                                        SACRAMENTO DIVISION
10
     THE UNITED STATES OF AMERICA,                      Case No.:12-CR-00198-MCE
11
                    Plaintiff,
12
     vs.                                                STIPULATION AND ORDER TO
13                                                      CONTINUE SENTENCING
14   REGINALD BELL,
15                  Defendant.
16
            Reginald Bell, by and through his counsel, Philip Schnayerson, and the United Sates
17
     Government, by and through its counsel, Roger Yang, Assistant United Sates Attorney and U.S.
18

19   Probation Officer Paul Mamaril, jointly stipulate and respectfully request the Court to reset the

20   sentencing hearing presently set for September 15, 2016, be rescheduled to October 20, 2016.
21   Dated: August 31, 2016                               Respectfully submitted,
22                                                         /s/ Philip Schnayerson
                                                          Philip Schnayerson
23                                                        Attorney for Defendant Reginald Bell
24   Dated: August 31, 2016                               Respectfully submitted,
                                                           /s/ Richard Yang__________
25                                                        Authorized to sign for Richard Yang
26
                                                          Assistant United States Attorney
                                                          On August 31, 2016
27

28   USA VS. REGINALD BELL 12-CR-00198-MCE  1
     STIPULATION AND ORDER TO CONTINUE SENTENCING
            Case 2:12-cr-00198-MCE Document 1242 Filed 09/08/16 Page 2 of 2


 1                                             ORDER
 2
            The Sentencing date presently scheduled for September 15, 2016, is continued to October
 3
     20, 2016.
 4
            IT IS SO ORDERED:
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 6   Dated: September 7, 2016

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28   USA VS. REGINALD BELL 12-CR-00198-MCE  2
     STIPULATION AND ORDER TO CONTINUE SENTENCING
